     Case 2:19-bk-16243-BR      Doc 43 Filed 06/19/19 Entered 06/19/19 15:12:06          Desc
                                 Main Document    Page 1 of 3


 1     WINSTON & STRAWN LLP
       Rolf S. Woolner (SBN: 143127)
 2     rwoolner@winston.com
       Justin E. Rawlins (SBN: 209915)
 3     jrawlins@winston.com
       Scott J. Fishwick (SBN: 308661)
 4     sfishwick@winston.com
       Aaron M. Gober-Sims (SBN: 325544)
 5     agobersims@winston.com
       333 S. Grand Avenue, 38th Floor
 6     Los Angeles, CA 90071-1543
       Telephone:     (213) 615-1700
 7     Facsimile:     (213) 615-1750

 8     Counsel for Hughes Investment Partnership, LLC
       And MH Holdings II H, LLC
 9

10                              UNITED STATES BANKRUPTCY COURT

11                               CENTRAL DISTRICT OF CALIFORNIA

12                                       LOS ANGELES DIVISION

13      In re:                                    Case No. 2:19-bk-16243-BR

14      Secured Capital Partners, LLC,            Chapter 11

15                    Debtor.
                                                  VOLUME 1 OF EXHIBITS TO
16                                                DECLARATION OF THOMAS H. KENNEY
                                                  IN SUPPORT OF MOTION OF HUGHES
17                                                INVESTMENT PARTNERSHIP, LLC AND
                                                  MH HOLDINGS II H, LLC TO DISMISS THE
18                                                BANKRUPTCY CASE (EXHIBITS A
                                                  THROUGH Z)
19

20                                                Date:    July 16, 2019
                                                  Time:    10:00 a.m.
21                                                Place:   Courtroom 1668; Judge Russell
                                                           U.S. Bankruptcy Court
22                                                         255 E. Temple Street, 16th Floor
                                                           Los Angeles, CA 90012
23

24

25

26

27

28
     Case 2:19-bk-16243-BR    Doc 43 Filed 06/19/19 Entered 06/19/19 15:12:06                Desc
                               Main Document    Page 2 of 3


 1
        Exhibit   Description                                                                Page Nos.
 2                Ruling on Submitted Matters (Suspension/Removal Petition, CCP 631.8        17 - 62
           A.     Motion, Ex Parte Application and Post-Trial Motion to Strike), dated
 3                March 18, 2013, in In re the Matter of the Mark Hughes Trust, Case No.
 4                BP 063500, Superior Court of California, County of Los Angeles
                  Promissory Note, dated August 31, 2004 (“First Loan”)                      63 - 69
 5         B.
                  Deed of Trust, Security Agreement and Fixture Filing, dated September      70 - 98
 6         C.     16, 2004, and recorded in the Official Records of the Los Angeles
                  County Recorder as Instrument No XX-XXXXXXX (“First Deed of Trust”)
 7                Promissory Note, dated August 31, 2004 (“Second Loan”)                     99 - 102
           D.
 8                Deed of Trust, Security Agreement and Fixture Filing, dated September      103 - 127
           E.     16, 2004, and recorded in the Official Records of the Los Angeles
 9
                  County Recorder as Instrument No XX-XXXXXXX (“Second Deed of
10                Trust”)
                  Construction Loan Agreement, dated on June 6, 2008                         128 - 162
11         F.
                  Accommodating Deed of Trust, Security Agreement and Fixture Filing,        163 – 183
12         G.     dated June 28, 2006 and recorded in the Official Records of the Los
                  Angeles County Recorder as Instrument No XX-XXXXXXX (“Third Deed
13
                  of Trust”)
14                Notices of Default, dated May 20, 2008                                     184 – 190
           H.
15                Omnibus Loan Modification Agreement, dated on June 10, 2010                191 – 198
           I.
16                Construction Loan Agreement, dated on June 10, 2010 (“Fourth Loan”)        199 – 242
           J.
17                Non-Recourse Promissory Note Secured By Deed of Trust, dated June          243 - 250
           K.     10, 2010 (“Fourth Loan”)
18                Construction Deed of Trust, Security Agreement and Fixture Filing,         251 – 276
           L.     dated June 10, 2010 and recorded in the Official Records of the Los
19                Angeles County Recorder as Instrument No XX-XXXXXXX (“Fourth Deed
20                of Trust”)
                  Excerpt from an Office of Inspector General Semiannual Report to           277 – 286
21         M.     Congress for the period April 1, 2003-September 30, 2003, along with
                  documents pulled from the criminal case file in U.S. v. Noval, C.D. Cal.
22                Case No. CR 97-1005(A)-JSL
                  Settlement Agreement (without exhibits), dated January 2, 2013             287 – 322
23         N.
24                Objection of Alexander Hughes to Tower Park’s Motion to Approve            323 – 377
           O.     Settlement filed on January 11, 2013 (omitting voluminous exhibits)
25                [Tower Park Bankruptcy Case at Docket No. 397]
                  Ruling on Ex Parte Application, dated on January 10, 2013 in In re the     378 – 381
26         P.     Matter of the Mark Hughes Family Trust, Superior Court of California,
                  County of Los Angeles Case No. BP 063500
27

28



                                                      2
     Case 2:19-bk-16243-BR     Doc 43 Filed 06/19/19 Entered 06/19/19 15:12:06             Desc
                                Main Document    Page 3 of 3


 1
        Exhibit    Description                                                             Page Nos.
 2                 Order Appointing FTIC as Trustee ad litem to Represent the Trust’s      382 - 384
           Q.      Interests in Connection with TPP’s Motion to Approve Settlement
 3                 Agreement in Bankruptcy Proceedings, dated on January 14, 2013 in In
 4                 re the Matter of the Mark Hughes Family Trust, Superior Court of
                   California, County of Los Angeles Case No. BP 063500
 5                 Limited Joinder of FTIC to Objection of Alexander Hughes to Tower       385 – 389
           R.      Park’s Motion to Approve Settlement filed on January 14, 2013 [Tower
 6                 Park Bankruptcy Case at Docket No. 401]
                   Hughes Investment Partnership, LLC and MH Holdings II H, LLC’s          390 – 394
 7         S.      Joinder in Reorganized Debtor’s Motion to Approve Settlement
 8                 Agreement filed on January 22, 2013 [Tower Park Bankruptcy Case at
                   Docket No. 403]
 9                 Order Granting Motion By Tower Park Properties, LLC to Approve          395 – 400
           T.      Settlement Agreement, filed on January 23, 2013 [Tower Park
10                 Bankruptcy Case at Docket No. 405]
11                 Order Granting Ex Parte Application of Alexander Hughes for an Order    401 – 403
           U.      Clarifying the Court’s January 14, 2013 Order Appointing a Trustee Ad
12                 Litem with Respect to the Tower Grove Property, dated on August 21,
                   2015, Superior Court of California, County of Los Angeles Case No. BP
13                 063500
                   Findings of Fact and Conclusions of Law Re Remand from District         404 – 412
14         V.      Court, dated February 24, 2015 [Tower Park Bankruptcy Case at Docket
15                 No. 620]
                   Memorandum of Decision, dated July 1, 2016                              413 – 429
16         W.
                   Ninth Circuit’s Memorandum In re Tower Park Properties, LLC, Case       430 – 433
17         X.      No. 16-56092, ECF No. 37-1, dated November 27, 2017
                   Letter from Michael E. Bubman of Miram Bubman Nahmias, dated            434 – 437
18         Y.      May 29, 2015
19                 Letter from Justin E. Rawlins, of Winston & Strawn LLP, dated June
           Z.      12, 2015                                                                438 - 441
20

21
       Dated: June 19, 2019                      WINSTON & STRAWN LLP
22

23
                                                 By: /s/ Justin E. Rawlins
24                                                   Justin E. Rawlins
                                                     Counsel for Hughes Investment Partnership, LLC
25                                                   and MH Holdings II H, LLC

26

27

28



                                                     3
